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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES                                     *
 vs.                                               *   Case No.: 21-15-APM
 THOMAS EDWARD CALDWELL                            *
        *       *       *      *       *       *       *      *       *      *       *

                                              ORDER
        Upon consideration of the Defendant’s Unopposed Motion to Modify Conditions of
 Release, it is hereby ordered by the United States District Court for the District of Columbia that
 the Motion is granted and that the Defendant be permitted to travel on April 6, 2023 to the
 United States Marshal Service at the United States District Court for the purpose of processing
 and booking. Further, the Defendant’s curfew is extended from 9:00 p.m. to 9:45 p.m. on
 Wednesdays to accommodate midweek church services as approved by his Pretrial Officer.




        __________________                     ____________________________________
        Date                                   Honorable Amit P. Mehta
                                               United States District Court
